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AO 442 (Rev. I l/l    l)   Anest Warrant



F#11274286                                    UrurEo SrarBs Dtsrrucr                            CouRr RECE|VH$
                                                                      for the                                                  t|AY 13        2021
                                                              District of Minnesota
                                                                                                                   CLERK, U,S. DISTRICT COURT

                      United States of America                                              #PAUL'MINNESoTA
                                  v.
                                                                                   Case   No.   CR 2l-108    PAI//TNL
                           Thomas Kiernan Lane (4)


                                                                                    RECEIVED
                                                                                   By U.S. Marshal, SL Paul, MN at 2:15 pm, May 06, 2021
                                  Defendant


                                                             ARREST WARRANT
To:       Any authorizedlaw enforcement officer

          YOU ARE COMMANDED to anest and bring before                    a United States magistrate judge           without unnecessary delay
(name of person to be       arrested) Thomas Kiernan Lane
who is accused of an offense or violation based on the following document filed with the court:

 /   Indictment                     Superseding lndictment           Information Superseding Information                               Complaint

     Probation Violation Petition                    Supervised Release Violation Petition Violation Notice                            Order of the Court

                                                                                                     Pretrial Release Violation Petition
This offense is briefly described as follows:

 Count 3 - Deprivation of Rights Under Color of Law, 18:242.




Date:    0510612021
                                                                                                             officer's signature


City and    state:          Minneapolis, MN                                                           .   Fogarty, Clerk of Court
                                                                                                     Printed name and title


                                                                     Return

          This warrant was received on dde)                                o    and the person was arrested on @ak)
at (city and state)



                                                                                                  Awe s ting offi c e r's s ignature

                                ARRESTE.D OI'I
                                ARRE5TED BY
                                                                                                               __
                                              U.5. MAFSHAL                                                     [[

                                 *Qv   DISTRICT OF                                                                      MAY     18?021 65
                                                                                                                U.S. DISTR|CT COURT ST. PAUL
